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1    Ronald A. Van Wert, WSBA #32050
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7
8
9                       UNITED STATES DISTRICT COURT
10                FOR THE WESTERN DISTRICT OF WASHINGTON
11
12
13    BRETT MARTINSON,
14                                                  No. 3:21-cv-05036-BHS
                          Plaintiff,
15
                                                   DEFENDANT’S ANSWER
16
      vs.                                          AND AFFIRMATIVE
17                                                 DEFENSES TO COMPLAINT
18    CENTRAL PIERCE FIRE & RESCUE,
19
20                        Defendant.
21
22          Defendant Central Pierce Fire & Rescue (hereinafter referred to as
23
     “CPFR”) hereby answers the Plaintiff’s Complaint and asserts its affirmative
24
25   defenses thereto.
26
27                       ANSWER TO PLAINTIFF’S COMPLAINT
28
29                                     I.   Introduction
30
31
            1.   This paragraph does not contain an allegation and, therefore, does
32




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1             not require an answer.
2
3      2.     This paragraph does not contain an allegation and, therefore, does
4
5             not require an answer.
6
                       II. PARTIES AND JURISDICTION
7
8
       3.     CPFR admits that Mr. Martinson was an employee of CPFR since
9
10            1998. Defendants lacks knowledge or information sufficient to form
11
12            a belief about the truth of the remaining allegations contained in
13
14            Paragraph 3 and therefore denies the same.
15
       4.     Admit.
16
17     5.     Admit.
18
19     6.     Admit that all acts alleged occurred in the Western District of
20
21            Washington; however, deny any wrongful acts occurred as alleged.
22
       7.     Admit that the United States District Court for the Western District
23
24
              of Washington has jurisdiction over this matter as alleged; deny any
25
26            wrongful acts occurred in violation of the referenced statutes to
27
28            trigger jurisdiction.
29
30     8.     Admit that the United States District Court for the Western District
31
              of Washington is the proper venue based on the alleged facts; deny
32




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1             any wrongful acts occurred in violation of the referenced statutes to
2
3             trigger venue.
4
5                                        III. FACTS
6
       9.     Admit      that   Mr.   Martinson     was        hired        by      CPFR         as   a
7
8
              firefighter/paramedic on April 9, 1998.
9
10     10.    CPFR lacks knowledge or information sufficient to form a belief
11
12            about the truth of the allegations contained in Paragraph 10 and
13
14            therefore denies the same.
15
       11.    CPFR lacks knowledge or information sufficient to form a belief
16
17            about the truth of the allegations contained in Paragraph 11 and
18
19            therefore denies the same.
20
21     12.    Admit that Mr. Martinson was deployed for military purposes as
22
              follows:
23
24
                •     2002; CPFR lack knowledge or information sufficient to form
25
26                    a belief about the truth of Paragraph 12 relating to 2002 and
27
28                    therefore denies the same.
29
30              •     2003—180 days
31
                •     2004—366 days
32




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1               •    2005—365 days
2
3               •    2006—85 days
4
5               •    2007—47 days.
6
       13.    CPFR records do not reach back 13-14 years; consequently, CPFR
7
8
              lacks knowledge or information sufficient to form a belief about the
9
10            truth of the allegations contained in Paragraph 13 and therefore
11
12            denies the same; CPFR is prejudiced by Plaintiff’s delay in bringing
13
14            such allegation.
15
       14.    CPFR records do not reach back 13-14 years; consequently, CPFR
16
17            lacks knowledge or information sufficient to form a belief about the
18
19            truth of the allegations contained in Paragraph 14 and therefore
20
21            denies the same; CPFR is prejudiced by Plaintiff’s delay in bringing
22
              such allegation.
23
24
       15.    CPFR records do not reach back 13-14 years; consequently, CPFR
25
26            lacks knowledge or information sufficient to form a belief about the
27
28            truth of the allegations contained in Paragraph 15 and therefore
29
30            denies the same; CPFR is prejudiced by Plaintiff’s delay in bringing
31
              such allegation.
32




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1      16.    CPFR records do not reach back 13-14 years; consequently, CPFR
2
3             lacks knowledge or information sufficient to form a belief about the
4
5             truth of the allegations contained in Paragraph 16 and therefore
6
              denies the same; CPFR is prejudiced by Plaintiff’s delay in bringing
7
8
              such allegation.
9
10     17.    Admit that Mr. Martinson was deployed in parts of 2013, but deny
11
12            his deployment during the exact dates alleged in paragraph 17 based
13
14            on military orders on record with CPFR. Admit CPFR made an
15
              announcement on April 17, 2013 that the Lieutenant Promotional
16
17            Testing Process would run from approximately September 16, 2013
18
19            – October 23, 2013. Admit Mr. Martinson returned from leave on
20
21            August 16, 2013, and completed retraining. Admit Mr. Martinson
22
              applied for the Lieutenant’s test on September 9, 2013. Admit that
23
24
              CPFR was drafting a policy as of September 3, 2013, to manage the
25
26            testing process for individuals on leave. Deny remaining allegations
27
28            in paragraph 17 and any inferences therefrom.
29
30     18.    Deny.
31
       19.    CPFR lacks knowledge or information sufficient to form a belief
32




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1             about the truth of the allegations contained in Paragraph 19 and
2
3             therefore denies the same. CPFR maintains no control over the
4
5             Washington State Department of Retirement Systems (“DRS”).
6
              There is no agency relationship between CPFR and DRS.
7
8
       20.    Deny that a meeting took place as alleged “immediately prior to
9
10            [Mr. Martinson’s] deployment.”          Deny Mr. Martinson ever
11
12            requested to make-up testing being held during his deployment.
13
14            Deny remaining allegations in paragraph 20 and any inferences
15
              therefrom.
16
17     21.    Deny.
18
19     22.    Admit that an eligibility list for the Shift EMS Lieutenant position
20
21            was effective from October 12, 2015 through June 30, 2017, and
22
              consisted of 13 individuals; six individuals received a promotion.
23
24
              The remainder of paragraph 22 is denied.
25
26     23.    Admit that Mr. Martinson was deployed in parts of 2016, but deny
27
28            his deployment during the exact date alleged in the Complaint based
29
30            on military orders on record with CPFR.
31
       24.    Deny.
32




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1      25.    Deny.
2
3      26.    Mr. Martinson’s request as alleged, if it occurred, would have been
4
5             made to DRS. CPFR lacks knowledge or information sufficient to
6
              form a belief about the truth of the allegations contained in
7
8
              Paragraph 26 and therefore denies the same. CPFR maintains no
9
10            control over DRS. There is no agency relationship between CPFR
11
12            and DRS.
13
14     27.    Admit that military orders evidence deployment from 06/01/2018-
15
              01/16/2019.
16
17     28.    Admit.
18
19     29.    Admit that Mr. Martinson returned to duty on January 14, 2019.
20
21            Deny the remainder of paragraph 29.
22
       30.    Mr. Martinson’s request as alleged, if it occurred, would have been
23
24
              made to DRS. CPFR lacks knowledge or information sufficient to
25
26            form a belief about the truth of the allegations contained in
27
28            Paragraph 30 and therefore denies the same. CPFR maintains no
29
30            control over DRS. There is no agency relationship between CPFR
31
              and DRS.
32




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1      31.    CPFR has no military orders confirming this allegation and,
2
3             therefore, denies the same.
4
5      32.    Deny.
6
       33.    Deny.
7
8
       34.    Deny.
9
10     35.    Admit.
11
12     36.    Admit.
13
14     37.    Admit contingent upon the member having at least five service
15
              credit years.
16
17     38.    Deny. CPFR maintains no control over DRS. There is no agency
18
19            relationship between CPFR and DRS.
20
21     39.    Admit to the retirement benefit formula as stated. CPFR denies the
22
              remainder of paragraph 39.
23
24
       40.    Admit that CPFR firefighters are eligible for contribution to the
25
26            deferred compensation and VEBA plans in accordance with the
27
28            applicable collective bargaining agreement.                Admit that Mr.
29
30            Martinson’s payroll history reflects periods of time in which no
31
              contribution was made to his deferred compensation or VEBA
32




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1             accounts. Deny the remainder of paragraph 40 or any inferences
2
3             therefrom.
4
5      41.    Paragraph 41 is legal argument for which no response by CPFR is
6
              warranted.     CPFR recognizes its obligation to comply with all
7
8
              applicable laws.
9
10     42.    Deny.
11
12     43.    Paragraph 43 is legal argument for which no response by CPFR is
13
14            warranted. To the extent a response is necessary, CPFR denies the
15
              allegations of paragraph 43.
16
17     44.    Paragraph 44 is legal argument for which no response by CPFR is
18
19            warranted.
20
21     45.    Admit that CPFR posts all necessary workplace posters, including
22
              those relating to USERRA.
23
24
       46.    Deny.
25
26
27                          V.     CAUSES OF ACTION
28
29       [The Complaint does not include a section IV, so skipped to maintain
30       consistency with the Complaint. Also, the Complaint starts this
         section with No. 42. The Complaint’s numbering is maintained for
31
         consistency.]
32




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1      42.    Deny.
2
3     (NO. 1—VIOLATION OF 38 U.S.C. § 4311 (a)—DISCRIMINATION)
4
5      43.    38 U.S.C, § 4311(a) speaks for itself.          To extent paragraph 43
6
              paraphrases or is inconsistent with the cited statute or applicable
7
8
              law, it is denied.
9
10     44.    Deny.
11
12     45.    Paragraph 45 is legal argument for which no response by CPFR is
13
14            warranted. The factual allegations of paragraph 45 are denied.
15
              (NO. 2—VIOLATION OF 38 U.S.C. § 4312 & 4313)
16
17     46.    Deny.
18
19     47.    Deny.
20
21     48.    Deny.
22
              (NO. 3—VIOLATION OF 38 U.S.C. § 4302 & 4318)
23
24
       [The Complaint starts this section with No. 48.                  The Complaint’s
25     numbering is maintained for consistency.]
26
27     48.    Deny.
28
29            (CLAIM FOR LIQUIDATED DAMAGES 38 U.S.C. § 4323)
30
       49.    Paragraph 49 is legal argument for which no response by CPFR is
31
32




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1                warranted. The factual allegations of paragraph 49 are denied.
2
3         50.    Paragraph 50 is legal argument for which no response by CPFR is
4
5                warranted. To the extent a response is necessary, the allegations of
6
                 paragraph 50 are denied.
7
8
          51.    Deny.
9
10        52.    Deny.
11
12                         V.     PRAYER FOR RELIEF
13        [The Complaint has two sections designated “V.”, which is repeated
14        herein to maintain consistency with the Complaint.]
15
          Having fully answered the allegations contained within the Complaint,
16
17   CPFR hereby denies that Plaintiff is entitled to any of the relief requested
18
19   therein.
20
21                               JURY TRIAL DEMAND
22
23
          The statutes cited by Plaintiff in support of his various causes of action
24
25   under USERRA do not expressly provide for a jury trial. CPFR reserves the
26
27   right to move for a bench trial.
28
29
30
31
32




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1                        CPFR’s AFFIRMATIVE DEFENSES
2
3         Having fully answered Plaintiff’s Complaint, CPFR hereby submits the
4
5    following AFFIRMATIVE DEFENSES:
6
     (1) Plaintiff is estopped, by reason of his own conduct and actions, from
7
8
         asserting the alleged claims herein.
9
10   (2) Plaintiff has waived the right, by reason of his own conduct and action, to
11
12       assert the alleged claims herein.
13
14   (3) Plaintiff’s claims are barred by the doctrine of laches.
15
     (4) Plaintiff’s claims are barred because any action taken by CPFR was for
16
17       legitimate, non-discriminatory reasons.
18
19   (5) Plaintiff’s claims are barred because any action taken by CPFR was not
20
21       motivated by Plaintiff’s military service.
22
     (6) Plaintiff’s claims are barred because any action taken by CPFR would have
23
24
         taken place in the absence of Plaintiff’s membership or obligation for
25
26       military service.
27
28   (7) Plaintiff’s claims are barred because any action taken by CPFR was
29
30       reasonable under the circumstances of the particular event in controversy.
31
     (8) If Plaintiff sustained any damage or injury as alleged in the Complaint, the
32




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1        same was not caused by any fault of CPFR but was proximately caused by
2
3        Plaintiff’s own conduct.
4
5    (9) CPFR has not imposed a materially adverse employment action against
6
         Plaintiff for any reason, including his actions to enforce any protection
7
8
         guaranteed by USERRA.
9
10   (10) If Plaintiff sustained any damage or injury as alleged in the Complaint, the
11
12       same was not due to any act or omission by or on the part of CPFR, but
13
14       was due to the failure of Plaintiff to mitigate such damage or injury.
15
     (11) Plaintiff was a less qualified applicant than others selected for promotion
16
17       based on objective testing without consideration of military service, except
18
19       to provide a scoring advantage to Plaintiff per state law.
20
21   (12) CPFR did not deny Plaintiff of a “benefit of employment” within the
22
         meaning of USERRA.
23
24
     (13) Any claims arising prior to October 10, 2004, are barred by the statute of
25
26       limitations.
27
28   (14) CPFR has no agency relationship with DRS.
29
30   (15) CPFR has no control over DRS.
31
          CPFR hereby explicitly reserves the right to amend this Answer and add
32




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1    additional Affirmative Defenses as discovery and investigation in this matter
2
3    continue.
4
5                      DEFENDANTS’ PRAYER FOR RELIEF
6
          WHEREFORE, having fully answered the Complaint and filed its
7
8
     Affirmative Defenses, Defendants pray for the following relief:
9
10       (1)     An Order dismissing the Complaint with prejudice.
11
12       (2)     An Order awarding CPFR its reasonable costs and attorney’s fees as
13
14   allowed by law.
15
         For such other and further relief as law and equity allow.
16
17                           Dated March 22, 2021.
18
                             By:    /s/ Ronald A. Van Wert
19
                                    Ronald A. Van Wert, WSBA #32050
20                                  Etter, McMahon, Lamberson,
21                                  Van Wert & Oreskovich, P.C.
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1                           CERTIFICATE OF SERVICE
2
3    I hereby certify that on March 22, 2021, I electronically filed the following
4    document:
5
6    DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
     COMPLAINT
7
8
     with the Clerk of the Court using the CM/ECF System, which will send
9    notification of such filing to the following:
10
11   Thomas G. Jarrard
12   tjarrard@att.net
13
14   Matthew Z. Crotty
     matt@crottyandson.com
15
16
17                           /s/ Ronald A. Van Wert
18                           Ronald A. Van Wert, WSBA #32050
19
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